                    IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                                5:99CR11-14-V

CARLOS ANDREAS PARKS,           )
                                )
           Petitioner,          )
                                )
vs.                             )                         ORDER
                                )
UNITED STATES OF AMERICA,       )
                                )
           Respondent.          )
________________________________)

       THIS MATTER comes before the Court on its own motion.

       It has come to the Court’s attention that the above-referenced Petitioner is being

housed by the Bureau of Prisons at a location greater than five hundred miles from his

residence at the time of his conviction. Petitioner’s family has informed the Court that this

great distance has resulted in them being unable to visit him. While this Court is aware

that it does not have the authority to designate specifically where Petitioner is housed, this

Court would respectfully recommend to the Bureau of Prisons that Petitioner be transferred

to a facility closer in proximity to North Carolina.

       THEREFORE, IT IS HEREBY RECOMMENDED that as soon as practical the

Bureau of Prisons transfer Petitioner to a facility closer to North Carolina.



                                               Signed: February 12, 2009




   Case 5:99-cr-00011-KDB-DCK           Document 436       Filed 02/12/09    Page 1 of 3
                                 2


Case 5:99-cr-00011-KDB-DCK   Document 436   Filed 02/12/09   Page 2 of 3
                                 3


Case 5:99-cr-00011-KDB-DCK   Document 436   Filed 02/12/09   Page 3 of 3
